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            EXHIBIT F
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                             ROCKY MOUNTAIN RECOVERY SYSTEMS, l.'iC.




  Wednesday, January 17, 2024

            REDACTED

            REDACTED

       REDACTED
  I
  Torrington, WY82240


  OriginalCreditor:FamilyDentistry
  Account Number:
  Balance Due:$2,134.11

  Patient:Family

                                      PRE-COLLECTION
                                                   NOTICE

  To Whom It May Concern,

  This letter is to notify you that the above balance has been forwarded to our collection agency. To
  protect youas a consumer and to ensure that your creditor is paid in a reasonable manner, we are
  giving you an opportunity to pay this account before it is turned for collection.

  You have 30 dm from the date of this Jetter to pay this account to PlatteRiverfaml)y
  Dentlm:y.
         If you do not pay this bill to Family Dentistry or make satisfactory arrangements with
  us, we will immediately mailthe federal notice that triggers the time period for (1) Credit
  Reporting(2) Statutory Interest which will be back dated to the time of service and increase the
  amount due,and (3) LegalAction including fees and higher interest rates and additional damage to
  your credit report as we may pursue a legal judgment

  To avoid further action, contact:

  PlatteftbrerfamJlyPeuttsqy
  2017 Campbell
             Dr
  Iorrtgton. WY s2240
  307-532-4448
  Your prompt attention to this matter is appreciated.

  Rocky Mountain Recovery Systems, Inc.




EXHIBIT F                                                                                     Page 1 of 2
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                                ROCK\' MotlNTAlN RECOVERY SYSTEMS, INC.




   f:r'tdey,February 10, 1023

          REDACTED
          REDACTED
        REDACTED
   Totrlngton, WY82240


   OtJgi~\Creditor. f~lty~u~trY
   Acc-otmt Number.
   8.aianceDue'..$133.25
   'Patient: K,   REDACTED



   To Miom It May Concem,

                                              b~}anceha:s~n forwarded to our collection ;geney. To
   This letter ts to notify you that the abQVtil
   protect you as a consumer and to e-nS'uret-hat your creditor- is paid in a reasonab'ie mar..ner, w---e-
                                                                                                        Me
   giving you an opportunity to p:aythis ~unthefore      itis turned fur collection.

   You have 30 days from the dateoftllfs letter topaythisaccountto           FamJIY  D;mtiffi:Y. rry,,:mdo
   not~y this bill to Family Dentistry or make-~mfaetory arrang~m-Mts with us, we wm               •
   hrrmediately mail th@ federal notice that triggersth1;etirne periqd fur{1) Credit RepQrtillg (1)
   Statutory interest which will be hack dated to the time of service and increase the illlloant due, a.Pccd'
   (3} LegaJAction induding fees and higher interestrat~s and additional damage-to yo<.!f ~t
   ~])()rt as we may pursue a l!!gal judgment.

   To .avoid further action. contact:

   fa mUyDentistry
   2012 camutu:U  Dr
   I2rrin1t9n. wv~i240
   307-,.532-4448
    Your pnm,µt atu:mion to thl!i maner is apµnsciattHi

    kocky Mouut,Hn   Rtecovtcry Syli-lt:ms, Im:




EXHIBIT F                                                                                        Page 2 of 2
